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 1                                                        JUDGE RICARDO S. MARTINEZ
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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7
     UNITED STATES OF AMERICA,                        )   NO. CR06-110 RSM
 8                                                    )
                            Plaintiff,                )
 9                                                    )   ORDER GRANTING STIPULATED
                    vs.                               )   MOTION TO CONTINUE TRIAL
10                                                    )
     DEBORAH DOMINIQUE, MYRON                         )
11   CURRY,                                           )
                                                      )
12                          Defendants.               )
                                                      )
13

14          THE COURT having considered the stipulated motion of the parties, the records
15   and files herein, the Court hereby makes the following findings:
16          1.   The Court finds that a failure to grant the continuance would deny counsel
17   the reasonable time necessary for effective preparation, taking into account the
18   exercise of due diligence, within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii).
19          2.   The Court further finds that the ends of justice will be served by ordering a
20   continuance in this case, that a continuance is necessary to insure effective trial
21   preparation and that these factors outweigh the best interests of the public in a more
22   speedy trial, within the meaning of 18 U.S.C. § 3161(h)(8)(A).
23   //
24   //
25   //
26   //

                                                                      FEDERAL PUBLIC DEFENDER
     ORDER GRANTING STIPULATE MOTION                                      1601 Fifth Ave., Suite 700
     TO CONTINUE TRIAL - 1                                                     Seattle, Washington 98101
     (Deborah Dominique; CR06-110 RSM)                                                    (206) 553-1100
         Case 2:06-cr-00110-RSM          Document 63   Filed 07/05/06    Page 2 of 2



 1          IT IS THEREFORE ORDERED that the trial date is extended from
 2   July 31, 2006, to October 23, 2006. Pretrial motions shall be filed on or before
 3   September 7.
 4          DONE this 5th day of July, 2006.
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                                                 A
                                                 RICARDO S. MARTINEZ
                                                 UNITED STATES DISTRICT JUDGE
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     Presented by:
11
     s/Nancy Tenney
12   WSBA No. 35304
     Attorney for Deborah Dominique
13   Federal Public Defender’s Office
     1601 Fifth Ave., Suite 700
14   Seattle, WA 98101
     206/553-1100
15   206/553-0120
     nancy_tenney@fd.org
16

17   s/Robert Leen
     WSBA 14208
18   Attorney for Myron Curry
     600 University St, Suite 3310
19   Seattle, WA 98101
     206/748-7817
20   206/748-7821
     bob@leenlaw.com
21
     s/Vincent Lombardi
22   Assistant United States Attorney
     700 Stewart St., Suite 5220
23   Seattle, WA 98101-1271
     206/553-4213
24   Vince.Lombardi@usdoj.gov
25

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                                                                   FEDERAL PUBLIC DEFENDER
     ORDER GRANTING STIPULATE MOTION                                   1601 Fifth Ave., Suite 700
     TO CONTINUE TRIAL - 2                                                  Seattle, Washington 98101
     (Deborah Dominique; CR06-110 RSM)                                                 (206) 553-1100
